                 IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



RAFAEL VALDERRAMA,                               )
                                                 )
                           Petitioner,           )      MEMORANDUM OPINION
                                                 )      AND RECOMMENDATION
                    v.                           )
                                                 )
UNITED STATES OF AMERICA,                        )             1:09CV618
                                                 )             1:07CR200-3
                           Respondent.           )


      Petitioner Rafael Valderrama, a federal prisoner, has filed a motion to vacate,

set aside, or correct sentence pursuant to 28 U.S.C. § 2255 (docket no. 390).1 On

August 6, 2007, Petitioner pled guilty to one count of conspiracy to distribute cocaine

hydrochloride in violation of 21 U.S.C. §§ 846 and 841(b)(1)(A) and one count of

smuggling currency to a destination outside of the United States in violation of 31

U.S.C. § 5332(a)(1) and (b)(1) (docket nos. 167, 170). He was later sentenced to

235 months of imprisonment on the conspiracy charge and a concurrent sixty

months of imprisonment on the smuggling charge (docket no. 371). No direct appeal

was filed.    Instead, Petitioner submitted his current motion under § 2255.

Respondent has now filed a response (docket no. 397) and the matter is before the

court for a decision on Petitioner’s motion.




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       This and all further cites to the record are to the criminal case.




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                                    DISCUSSION

      Petitioner raises two claims for relief in his § 2255 motion. The first is that

counsel failed to file an appeal even though Petitioner instructed him to do so.

Although Petitioner does not label it as such, this is a form of ineffective assistance

of counsel claim. The second claim is that Petitioner’s guilty plea was invalid

because of ineffective assistance of counsel.

      In order to prove ineffective assistance of counsel, a petitioner must establish,

first, that his attorney's performance fell below a reasonable standard for defense

attorneys and, second, that he was prejudiced by this performance. See Strickland

v. Washington, 466 U.S. 668 (1984). Petitioner is not entitled to a hearing based

upon unsupported, conclusory allegations. See Nickerson v. Lee, 971 F.2d 1125,

1136 (4th Cir. 1992) (in order to obtain an evidentiary hearing a habeas petitioner

must come forward with some evidence that the claim might have merit), abrog’n on

other grounds recog’d, Yeatts v. Angelone, 166 F.3d 255 (4th Cir. 1999).              A

petitioner bears the burden of affirmatively showing deficient performance. See

Spencer v. Murray, 18 F.3d 229, 233 (4th Cir. 1994). To show prejudice following a

guilty plea, a petitioner must establish that there is a reasonable probability that but

for counsel’s allegedly deficient conduct, he would not have pled guilty but would

have gone to trial. Hill v. Lockhart, 474 U.S. 52 (1985).

      Regarding Petitioner’s first claim, he asserts that, following sentencing, he

instructed counsel to file an appeal; however, no appeal was ever filed. In an

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accompanying affidavit, Petitioner adds that the request to file an appeal occurred

just after sentencing. He believed then that an appeal would be filed. Petitioner was

later transferred to a federal prison. He states that sometime before June 9, 2009,

he contacted his daughter to give her his new prison address and to have her

contact his attorney to check the status of his appeal. Then, on June 15, 2009, he

received a letter from his attorney which was dated June 9, 2009, and which stated

that no appeal had been filed (docket no. 391, ex. 1).

      The Supreme Court has held that the dual performance and prejudice inquiry

of Strickland provides the proper framework for analyzing a claim that counsel was

ineffective for failing to file a notice of appeal. See Roe v. Flores-Ortega, 528 U.S.

470 (2000). The Roe Court reaffirmed that a defense attorney's performance falls

below an objectively reasonable standard if he disregards the defendant's specific

instructions to file a notice of appeal which defendant wants at the time and to which

the defendant has a right. Id. at 477. Nevertheless, if a defendant neither instructs

counsel to file an appeal nor asks that an appeal not be taken, and if counsel

consulted with the defendant about an appeal, counsel performs unreasonably only

by failing to follow the defendant's express instructions with respect to an appeal.

See id. at 478.

      Here, Petitioner’s claim is mainly focused on his contention that he instructed

counsel to file an appeal; however, Respondent points out a more serious problem.

The judgment in the case was filed on March 17, 2009. Petitioner’s former attorney

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has submitted an affidavit denying that Petitioner ever instructed him to file an

appeal. He states instead that, upon receipt of the judgment, he mailed copies to

Petitioner and his daughter. However, the mailings were returned. He then did not

hear from Petitioner until June 9, 2009, when Petitioner’s daughter provided

Petitioner’s address and told him that Petitioner wanted to file an appeal. The

attorney has attached as an exhibit a copy of the letter he attempted to send to

Petitioner on March 20, 2009. Both that letter and the envelope, which is stamped

as being returned for being undeliverable, are addressed to Petitioner at 628

Delaware Avenue in Burlington, North Carolina (docket no. 397, ex. A). Of course,

Petitioner was not at that address, but was instead in the custody of the United

States Marshals Service, where he had been since June 20, 2007 (docket no. 94).

       Respondent concedes a number of points and, in the end, agrees that

Petitioner is entitled to relief on his first claim for relief. It notes first that Petitioner

had objected to certain sentencing enhancements and that this could have provided

Petitioner with non-frivolous grounds for appeal. That, in turn, triggered a duty on

the part of his attorney to consult with Petitioner regarding an appeal. The attorney

never states that he did this. Further, the facts as just set out show that he did not

even provide Petitioner with a copy of the judgment in a timely fashion, but instead

mailed a copy of the judgment to an address Petitioner not longer used. Therefore,

Respondent concludes that Petitioner should be granted relief as to his first claim.




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      The undersigned agrees with Respondent’s conclusion.                Petitioner can

establish an ineffective assistance of counsel claim based on a failure of his attorney

to properly consult with Petitioner concerning the filing of a direct appeal in the case.

Therefore, Petitioner should be appointed new counsel and given a new period of

time to file a direct appeal. He may file that appeal if, after consultation with counsel,

he determines that filing an appeal is in his best interest.

      As for Petitioner’s second claim for relief, Respondent asks that it be

dismissed without prejudice based on the granting of Petitioner’s first claim for relief.

The undersigned agrees that this is the best course of action in the circumstances

of this case. Petitioner can pursue his second claim, if necessary, after his appeal

has concluded or after his new time for filing an appeal has run if he decides not to

file an appeal.




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      IT IS THEREFORE RECOMMENDED that Petitioner’s motion to vacate, set

aside or correct sentence (docket no. 390) be GRANTED as to Claim One and

DISMISSED without prejudice as to Claim Two and that Petitioner be appointed new

counsel and given a renewed period of time in which to file a notice of appeal.




                                      ______________________________
                                      Wallace W. Dixon
                                      United States Magistrate Judge

Durham, N.C.
December 22, 2009




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